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UNITED STATES DISTRICT COURT
DISTRICT OF SOUTH DAKOTA

SOUTHERN DIVISION

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UNITED STATES OF AMERICA, CR 16-40125
Plaintiff,
vs. FACTUAL BASIS STATEMENT

JON HENRI BRYANT SR.,

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Defendant.
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The undersigned hereby stipulate that the following facts
are true, and establish a factual basis for Mr. Bryant Sr.'s
plea of guilty to kidnapping, pursuant to the F.R.Cr.P. 11(b) (3):

On October 25, 2016, the Defendant did willfully and
knowingly confine, abduct and carry away Christine Woods, and
did transport her in interstate commerce in violation of 18 U.S.C.
§ 1201(a) (1).

During the morning of October 25, 2016, the Defendant slapped
the victim in the face and forced her by threat to get into the
car he had purchased for the victim. He then drove into Minnesota
for a short period of time, and then to a farm location in rural
South Dakota. At the farm area, the Defendant allowed Ms. Woods

to get out of the trunk and enter the passenger seat of the car.
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He then told the victim to use her cell phone to call
back 911. When the Defendant noticed law enforcement was at the
farm, he became angry at the victim, slapped her face and then
frightened her further by putting his hands around the victim's
throat. He then attempted to flee the farm area but was soon
thereafter apprehended.

Dated and signed on this 30 th day of July, 2017.

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Jon Henri Bryant Sr.

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James A. Eirinb
Attorney fo efendant

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